




Dismissed and Memorandum Opinion filed March 12, 2009








Dismissed
and Memorandum Opinion filed March 12, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00223-CV

____________

&nbsp;

KIMBERLY KENNEDY, Appellant

&nbsp;

V.

&nbsp;

ANDOVER PLACE APARTMENTS, Appellee

&nbsp;

&nbsp;



&nbsp;

On Appeal from the
County Civil Court at Law No. 3

Harris County,
Texas

Trial Court Cause
No. 907028

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed December 3, 2007.&nbsp; On March 5, 2009, the
parties filed a joint motion to dismiss the appeal because all issues have been
settled.&nbsp; See Tex. R. App. P.
42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Panel consists of Chief Justice Hedges and Justices
Anderson and Seymore. &nbsp;





